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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
Nancy Worley, et al.
                       Plaintiffs

              v.                                   CA No.1:12 CV 2069
                                                   Judge Royce C. Lamberth

The Islamic Republic of Iran, et al.
                    Defendants

    PLANTIFF’S MOTION FOR SUBSTITUTION OF A PROPER PARTY


       Plaintiffs, Nancy Worley, et al., by counsel, pursuant to the provisions of Federal Civil

  Rule 25 (a)(1), herewith submit this Motion for Substitution of a Proper Party and pursuant to

  this Court’s Order of December 8, 2014.

       Wherefore, Plaintiffs pray that the Motion be granted and that the attached Order be

  entered.

  March 23, 2015                                   Respectfully submitted,

                                                   FAY KAPLAN LAW, PA

                                                   Thomas Fortune Fay______
                                                   THOMAS FORTUNE FAY
                                                   Unified Bar No. 23929

                                                   Caragh Glenn Fay_________
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                                 CERTIFICATE OF SERVICE



        I hereby certify that on this 23rd day of March, 2015, copies of the Motion to
Appoint a Special Master were electronically sent to counsel of record via the Court’s ECF
notification system.

                                                /s/ William C. Dowden, III
                                                William C. Dowden, III, Esq.
